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                     IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF TEXAS
                                TYLER DIVISION


JERRY LAZA                         §
                                   §
     Plaintiff,                    §
                                   §                      CIVIL ACTION
     v.                            §                      NO. 6:17-cv-00533-JDK
                                   §                      JURY DEMANDED
CITY OF PALESTINE, MIKE ALEXANDER, §
RONALD STUTES, DOUG SMITH, WILL    §
BRULE, STEVE PRESLEY, MITCHELL     §
JORDAN, VICKEY CHIVERS, LARISSA    §
LOVELESS, JOE BAXTER, DANA         §
GOOLSBY, AND ANN CONNER            §
                                   §
     Defendants                    §


                                     STATUS REPORT

   1. The parties hereby jointly submit the following Status Report to the Court in compliance

      with the Court’s Order of September 22, 2023 (Doc. 116), which requires the parties to

      file a Status Report regarding the status of the State Court Appeal (Texas State Court of

      Appeals for Sixth Appellate District in Texarkana, Texas, Appellate No. 06-18-00051-

      cv). The Court ordered the parties to address the issue of whether the present case should

      remain stayed in this Court.

   2. In response to the Court’s Order, the parties would show that Plaintiff Laza’s Appeal

      remains active, and is now pending before the United States Supreme Court. The Docket

      Sheet from the Sixth Court of Appeals (attached hereto as Exhibit “A”) shows the

      history of Laza’s Appeal before that Court. A Memorandum Opinion was issued by the

      Sixth Court of Appeals on August 18, 2022 (see Exhibit “B” attached). Following the

      issuance of the Court’s Memorandum Opinion, Plaintiff-Appellant Laza filed a Motion
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      for Rehearing on August 31, 2022. The Motion for Rehearing was denied by the Sixth

      Court of Appeals on December 5, 2022.

   3. Plaintiff-Appellant Laza then filed a Petition for Review with the Texas Supreme Court,

      as shown on the Docket Sheet from the Texas Supreme Court. (see Exhibit “C” attached

      hereto). The Petition for Review was subsequently denied by the Texas Supreme Court

      on March 31, 2023. Plaintiff Laza filed a Motion for Rehearing on May 9, 2023 which

      was denied by the Texas Supreme Court on June 16, 2023. On June 19, 2023 a Mandate

      was issued by the Sixth Court of Appeals.

   4. Plaintiff-Appellant Laza then filed an application for an extension of time within which

      to file a Petition for a Writ of Certiorari with the Supreme Court of the United States.

      On September 14, 2023 Plaintiff-Appellant Laza was notified by Lisa Nesbitt, Case

      Analyst, that his time within which to file a Petition for a Writ of Certiorari had been

      extended to and including October 16, 2023. (see Exhibit “D” attached hereto).

   5. In light of the events outlined in the preceding paragraphs, and in anticipation that

      Plaintiff-Appellant Laza will timely file a Petition for a Writ of Certiorari with the United

      States Supreme Court, the parties agree that the present case should remain stayed at this

      time. Counsel for the parties will continue to monitor the status of the above referenced

      Appeal, and will notify the Court upon receiving confirmation that the Appellate process

      has concluded.

                                            Respectfully submitted,

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